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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff(s),               CASE NUMBER: 09-20224
                                                 HONORABLE VICTORIA A. ROBERTS
 v.

 D-7   NEIL CHAPPLE,

                 Defendant(s).
 _________________________________/

                                         ORDER

 I.    INTRODUCTION AND PROCEDURAL HISTORY

       This matter is before the Court on Defendant Neil Chapple’s “Amended Motion to

 Suppress – July 3, 2008.” (Doc. #107). Chapple asks the Court to suppress

 statements he made during an unlawful arrest, as well as the OxyContin pills, cough

 syrup with codeine, and firearm seized during the arrest.

       On November 13, 2009, the Court referred this motion to Magistrate Judge

 Virginia A. Morgan for a Report and Recommendation (“R&R”). The Magistrate Judge

 held an evidentiary hearing on January 12, 2010 and January 15, 2010. On February

 26, 2010, the Magistrate Judge filed an R&R, recommending that the Court DENY

 Chapple’s motion to suppress.

       Chapple filed objections on March 12, 2010, and a Supplemental Brief on June

 17, 2010. The Government responded on June 29, 2010.

       For the reasons stated, the Magistrate Judge’s R&R is ADOPTED, and

 Chapple’s motion is DENIED.

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 II.    BACKGROUND

        A.     Traffic Stop

        On July 3, 2008, Chapple and his friend, Mollie Shause, were in a rental car,

 traveling southbound on I-75 in Monroe County.

        At 6:56 p.m., Michigan State Trooper Robert Prause initiated a traffic stop for

 tailgating. Chapple denies he was tailgating. He says the driver of the car in front of

 him slammed on her brakes after she saw Trooper Prause’s car, so he slammed on his.

        During the traffic stop, Chapple told Trooper Prause he picked Shause up from

 Kentucky to go to his family reunion in Detroit, but he did not want to go, so he and

 Shause were headed back to Kentucky to pick up Shause’s sister before going to Cedar

 Point for the weekend.

        Trooper Prause gave Chapple a verbal warning, but then told him “You’re good

 to go.” This is at 7:03 p.m. At this point, the traffic stop ended, but Chapple and

 Trooper Prause continued to talk about Chapple’s vacation in Brazil.

        B.     Questioning of Mollie Shause

        At 7:04 p.m., Trooper Prause asked Chapple the name of his passenger, then

 said “I’m going to talk to [Shause] for a second, okay? Alright. Stand right here. That

 alright with you bud?” Chapple said “okay.”

        Shause told Trooper Prause they were on their way to Cedar Point for the night,

 and would spend the weekend in Kentucky for her family reunion. She did not mention

 Chapple’s family reunion in Detroit.

        C.     Search of Rental Car



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         Trooper Prause asked Chapple if he had guns, marijuana, Xanax, or Ecstasy.

 Chapple denied that he had a firearm or drugs, but also denied Trooper Prause’s

 request to search the car. At 7:07 p.m., Chapple told Trooper Prause he could “call the

 dog.”

         At 7:08 p.m., Trooper Prause called for the canine unit. The dog began

 searching the car at 7:45 p.m., and she alerted on the trunk.

         A search of a duffle bag in the trunk resulted in the seizure of cough syrup with

 codeine, and an unloaded firearm. OxyContin pills were found stuffed in a shoe.

         D.    Magistrate Judge’s Findings

         Chapple seeks to suppress the evidence obtained in the search. He argues that:

 (1) the initial traffic stop was improper; (2) the traffic stop was extended beyond what

 was reasonably necessary to issue a traffic citation; (3) the traffic stop was extended

 without reasonable suspicion of further criminal activity; and (4) the dog alert was too

 unreliable to constitute reasonable suspicion to search the car.

         The Magistrate Judge recommends that Chapple’s motion be denied. She says:

 (1) the traffic stop was proper because Trooper Prause had probable cause to believe

 Chapple committed a traffic violation; (2) the purpose of the traffic stop ended when

 Trooper Prause told Chapple he was “good to go”; (3) after the traffic stop ended,

 Trooper Prause initially engaged in consensual conversations with Chapple and

 Shause; (4) when Trooper Prause told Chapple he was calling for the canine unit, the

 encounter escalated to a stop under Terry v. Ohio, 392 U.S. 1 (1968); (5) Trooper

 Prause had reasonable suspicion to conduct the Terry stop; (6) the Terry stop was

 sufficiently limited in time; and (7) the Government established probable cause for a

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 search of the car because the dog was reliable.

        E.     Chapple’s Objections

        Chapple objects to the Magistrate Judge’s findings. He says: (1) the traffic stop

 was improper; (2) Trooper Prause did not engage in consensual conversations with

 Chapple and Shause before he called for the canine unit; (3) Trooper Prause’s

 conversations with Chapple and Shause before he called for the canine unit, but after

 the traffic stop ended, amounted to a Terry stop; (4) Trooper Prause did not have

 reasonable suspicion to justify the Terry stop; (5) the Terry stop was not sufficiently

 limited in time; and (6) the dog was unreliable.

 III.   APPLICABLE LAW AND ANALYSIS

        A.     Traffic Stop

        “[S]topping an automobile and detaining its occupants constitute[s] a ‘seizure’

 within the meaning of [the Fourth Amendment].” Delaware v. Prouse, 440 U.S. 648,

 653 (1979).

        Trooper Prause’s decision to conduct a traffic stop is reasonable and complies

 with the Fourth Amendment guarantee against “unreasonable” searches and seizures, if

 he had probable cause to believe Chapple committed a traffic infraction. See Whren v.

 United States, 517 U.S. 806, 810 (1996) (citing Prouse, 440 U.S. at 659 (1979);

 Pennsylvania v. Mimms, 434 U.S. 106, 109 (1977) (per curiam)). Probable cause

 means “reasonable grounds for belief, supported by less than prima facie proof but

 more than mere suspicion.” United States v. Ferguson, 8 F.3d 385, 392 (6th Cir. 1993)

 (quoting United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990)).



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        Trooper Prause testified at the evidentiary hearing on January 12, 2010 that

 when traveling at 70 mph, a car should be seven car lengths behind the car in front.

 Trooper Prause said Chapple’s rental car was a car length and a half behind the car in

 front of him, which is a violation of the motor vehicle code. Trooper Prause said he saw

 Chapple’s rental car from a “pretty far distance continually right behind the vehicle [in

 front of him] at the same distance at the same pace.”

        Chapple says there was a short distance between his rental car and the car in

 front of his because the driver of the car in front slammed on her brakes, and he had to

 slam on his brakes.

        While Chapple’s explanation for why there was a short distance between his

 rental car and the car in front is plausible, the Court finds Trooper Prause had

 reasonable grounds to believe Chapple committed a traffic violation. His belief that

 Chapple was tailgating was supported by the fact that he watched Chapple’s rental car

 travel close to the car in front for a “pretty far distance.”

        It appears that both Trooper Prause and Chapple had credibility issues; Trooper

 Prause falsely told Chapple that his traffic violation was captured on videotape.

 However, Chapple testified at the evidentiary hearing on January 15, 2010, that he lied

 to Trooper Prause as well.

        B.      Expansion of the Traffic Stop

        Chapple says Trooper Prause violated his Fourth Amendment right when he

 talked to Shause after the traffic stop ended. According to Chapple, the interaction

 between Trooper Prause and Chapple was not consensual, and Trooper Prause did not

 have reasonable suspicion to expand the traffic stop.

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        “So long as a reasonable person would feel free ‘to disregard the police and go

 about his business,’ the encounter is consensual and no reasonable suspicion is

 required.” Florida v. Bostick, 501 U.S. 429, 434 (1991) (quoting California v. Hodari D.,

 499 U.S. 621, 628 (1991)). “[T]he crucial test is whether, taking into account all of the

 circumstances surrounding the encounter, the police conduct would ‘have

 communicated to a reasonable person that he was not at liberty to ignore the police

 presence and go about his business.’” Bostick, 501 U.S. at 437 (quoting Michigan v.

 Chesternut, 486 U.S. 567 (1988)). Trooper Prause’s subjective intent in detaining

 Chapple is irrelevant so long as his intent was not conveyed to Chapple in a way that

 resulted in Chapple believing he was not free to leave. See United States v. Campbell,

 486 F.3d 949, 954 (6th Cir. 2007) (citing United States v. Mendenhall, 446 U.S. 544,

 554 n.6 (1980)).

        While Trooper Prause told Chapple to remain by his patrol car while he talked to

 Shause, based on the totality of the circumstances, the Court finds there was no seizure

 when Trooper Prause asked Chapple if he could talk to Shause; a reasonable person

 would have felt free to leave after the traffic stop ended. Trooper Prause calmly asked

 Chapple if he could talk to Shause; Chapple gave Trooper Prause permission to talk to

 Shause; when Trooper Prause asked to talk to Shause, Chapple was having a friendly

 conversation with Trooper Prause about his vacation in Brazil; Trooper Prause was

 alone; he did not brandish a weapon; and, he did not make intimidating movements.

 See United States v. Mendenhall, 446 U.S. 544, 554 (1980) (examples of

 circumstances that might indicate a seizure would be the threatening presence of

 several officers, the display of a weapon by an officer, some physical touching of the

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 individual, or the use of language or tone or voice indicating that compliance with the

 officer’s request might be compelled).

        Because there was no seizure before Trooper Prause called for the canine unit,

 Trooper Prause did not need reasonable suspicion to extend the traffic stop by talking to

 Shause.

        C.     Terry Stop

        After Trooper Prause talked to Shause, he told Chapple he could either consent

 to search of his rental car, or Trooper Prause would call a canine unit. At this point, the

 encounter escalated to a Terry stop.

        “Once a consensual encounter escalates to the point where the individual is

 ‘seized,’ the police officer must have a reasonable suspicion of criminal activity to justify

 a Terry stop . . . in order for the seizure to comply with the Fourth Amendment.”

 Campbell, 486 F.3d at 954. “Reasonable suspicion requires specific and articulable

 facts, which, taken together with rational inferences from those facts, reasonably

 warrant the continued detention of a motorist after a traffic stop.” United States v.

 Smith, 263 F.3d 571, 588 (2001) (citing Terry, 392 U.S. at 21). The Court uses a

 “totality of the circumstances” analysis to determine whether Trooper Prause formed the

 requisite reasonable, articulable suspicion during the traffic stop. Smith, 236 F.3d at

 588. In determining whether Trooper Prause acted reasonably, “due weight must be

 given, not to his inchoate and unparticularized suspicion or ‘hunch,’ but to the specific

 reasonable inferences which he is entitled to draw from the facts in light of his

 experience.” Terry, 392 U.S. at 27.

        Trooper Prause says he had reasonable suspicion to believe drugs were in

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 Chapple’s rental car based on: (1) Chapple and Shause’s inconsistent stories about

 their travel plans; (2) Chapple’s nervousness; (3) the fact that the rental car was clean

 and went through an expensive detailing process; (4) the overwhelming smell of air

 freshener, cologne, or perfume coming from the inside of the car; (5) Trooper Prause’s

 belief that the rental car may have been stolen; and (6) the increase in people

 transporting prescription drugs from Detroit to Kentucky.

               1.     Inconsistent Travel Plans

        Inconsistent travel plans can form the basis for reasonable suspicion, if the

 inconsistencies contain an indicia of untruthfulness that is particularly suspicious in the

 mind of a reasonable police officer. See United States v. Townsend, 305 F.3d 537, 543

 (6th Cir. 2002).

        The Court agrees with Chapple that he and Shause could have been talking

 about two different family reunions.

        However, Chapple and Shause’s stories about their travel plans varied

 significantly. Chapple testified they were on their way to Kentucky, and then would

 spend the weekend at Cedar Point; Shause testified they were on their way to Cedar

 Point (which closed in approximately three hours from when the traffic stop occurred),

 and would spend the weekend in Kentucky.

        This factor is entitled to weight in the reasonable-suspicion calculation.

               2.     Nervousness

        After reviewing the videotape, the Court finds Trooper Prause’s conclusion that

 Chapple exhibited nervousness during the traffic stop not credible. Chapple appeared



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 calm and comfortable with the Trooper Prause.

       The Court gives no weight to Trooper Prause’s belief that Chapple was nervous.

              3.     The Rental Car Was Clean and Went Through an Expensive
                     Detailing Process

       The Court gives no weight to Trooper Prause’s belief that the rental car was

 clean and went through an expensive detailing process. A clean rental car can be

 indicative of innocent behavior, and there is no evidence that Chapple spent a lot of

 money to have the car detailed. In support of his assertion that the car was detailed,

 Trooper Prause only testified that there was wheel protectant on the tires, which is

 typically done at most car washes.

              4.     Overwhelming Smell of Air Freshener, Cologne, or Perfume

       Chapple’s argument is that the overwhelming smell of air freshener, cologne, or

 perfume does not support Trooper Prause’s reasonable suspicion that Chapple had

 drugs in the car, because he knew about the overwhelming smell before he told

 Chapple he was “good to go.”

       The Court disagrees.

       Trooper Prause could not have smelled the inside of the car until he talked to

 Shause after the traffic stop ended. When Trooper Prause initiated the traffic stop,

 Chapple immediately exited the car and went to Trooper Prause’s patrol car, which

 means Trooper Prause did not have an opportunity to smell the inside of the car before

 he talked to Shause.

       More importantly, the Court looks to the totality of the circumstances to determine

 whether Trooper Prause had reasonable suspicion to believe drugs were in Chapple’s


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  rental car. See Smith, 236 F.3d at 588.

          This factor is entitled to weight in the reasonable-suspicion calculation.

                 5.     Rental Car May Have Been Stolen

          The Court gives no weight to Trooper Prause’s belief that the rental car may

  have been stolen; this is not a specific and articulable fact as to why Trooper Prause

  thought Chapple had drugs in his rental car.

                 6.     Increase in People Transporting Prescription Drugs from
                        Detroit to Kentucky

          While traveling between a drug source city to a drug destination city is not

  inherently suspicious, See United States v. Urrieta, 520 F.3d 569, 576 (6th Cir. 2008),

  Trooper Prause testified that his experience taught him there was a pattern of

  prescription pills leaving Detroit for southern states.

          This factor is entitled to weight in the reasonable-suspicion calculation.

                 7.     Court’s Finding

          The Court disagrees with the Magistrate Judge’s conclusion that the expensive

  cleaning process, Trooper Prause’s belief that the rental car may be been stolen, and

  Chapple’s nervousness, created reasonable suspicion.

          However, the Court finds the inconsistent travel plans; the overwhelming smell of

  air freshener, cologne, or perfume; and, the fact that Trooper Prause’s experience

  taught him that people transport prescription pills from Detroit for southern states, was

  sufficient to create the requisite reasonable, articulable suspicion to conduct a Terry

  stop.

          D.     Duration of the Traffic Stop


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         Although Trooper Prause had reasonable suspicion to detain Chapple for

  investigation, his investigation matured into an arrest or seizure that required probable

  cause, if the investigation occurred over an unreasonable period of time. See United

  States v. Avery, 137 F.3d 343, 349 (6th Cir. 1997). “In assessing whether a detention is

  too long in duration to be justified as an investigative stop, we consider it appropriate to

  examine whether the police diligently pursued a means of investigation that was likely to

  confirm or dispel their suspicions quickly[.]” United States v. Sharpe, 470 U.S. 675, 686

  (1985) (citation omitted). There is no rigid time limit on the lawfulness of a Terry stop.

  United States v. Winfrey, 915 F.2d 212, 217 (6th Cir. 1990).

         Here, Trooper Prause asked Chapple for consent to search the car on more than

  one occasion, noting that a search of the car would be quicker than waiting for the

  canine unit. Chapple did not give consent. Therefore, the canine unit became the

  quickest way for Trooper Prause to dispel his suspicion that Chapple had drugs in the

  car. While the canine unit arrived approximately 37 minutes after the Terry stop began,

  Trooper Prause diligently pursued this avenue. He asked someone twice how far away

  was the canine unit. Once the canine unit arrived, the dog sniff was conducted

  immediately.

         This length of time is not unreasonable. See United States v. Davis, 430 F.3d

  345, 354 (6th Cir. 2005) (the police had reasonable suspicion to detain the defendant

  for the 30-45 minutes it took the police to bring the dog to the scene).

         E.      Reliability of the Drug-Sniffing Dog

         “In order for a dog’s alert to support a determination of probable cause, ‘the

  training and credibility of the dog must be established.’” United States v. Torres-Ramos,

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  536 F.3d 542, 554 (6th Cir. 2008) (quoting United States v. Diaz, 25 F.3d 392, 393-94

  (6th Cir. 1994)).

         Chapple says the reliability of the dog is questionable; the Michigan State Police

  used a dog that was not trained to detect the presence of OxyContin pills.

         The Court disagrees.

         The dog handler, Deputy Jeremy Peters, testified at the evidentiary hearing that

  the dog had been certified in tracking drug work, obedience, bike work, article searches,

  and area searches since 2007. She was never decertified. While the dog was only

  trained on marijuana, heroin, and cocaine, Deputy Peters testified that OxyContin has

  the same derivatives as heroin, the dog has found OxyContin pills during prior

  searches, and there is a possibility that the dog alerted to a remnant of an odor that

  humans cannot smell. Chapple does not offer evidence to dispute Deputy Peters

  testimony.

         The Court finds the dog was reliable. The Government established probable

  cause to search the rental car. See United States v. Diaz, 25 F.3d 392, 393 (6th Cir.

  1994) (“A positive indication by a properly-trained dog is sufficient to establish probable

  cause for the presence of a controlled substance”) (citing United States v. Knox, 839

  F.2d 285, 294 n.4 (6th Cir. 1988)).

  IV.    CONCLUSION

         The Court ADOPTS the Magistrate Judge’s R&R, with the exception of her

  conclusion that the expensive cleaning process, and Trooper Prause’s belief that the

  rental car may be been stolen, created reasonable suspicion.



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         Chapple’s motion is DENIED.

         IT IS ORDERED.


                                                   s/Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge

  Dated: July 16, 2010

   The undersigned certifies that a copy of this
   document was served on the attorneys of
   record by electronic means or U.S. Mail on
   July 16, 2010.

   s/Carol A. Pinegar
   Deputy Clerk




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